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Case: 23-5553

OFFICIAL COURT OF APPEALS CAPTION FOR 23-55
AUG 1 2023 - 8

DEBORAH S. HUNT, Clerk

GLENN D. ODOM, II

Petitioner - Appellant

v,
SCOTT JORDAN, Warden

Respondent - Appeilec

T CE Cc
Introduction

this is a case where appellant was nineteen (14) years old
with no ptier felony convictions on the date of incident. Numerovs
crack addicts placed pills in appellant's beer and mouth te drug
him for robbery. Prosecutor witnesses admitted that they , did
in fact, continuously Keep placing pills in appellant's mouth.
Prosecution witnesses also teshLfied thet appellant and victim
Wee AQCVIAG abovt the missing / Stolen roperty of appellant.
and thet the viction ran teward appellant atackin [ grabbing
him +o toke appellant's gua ~ appellant then shot Victim again.

Appellant heqged counsel to present the case loased on the
facts of loeing drugged for role ery ~ which caused a Semi-
Conscious State of mind and based on the agtument / a acKing
appellant grabbing nim to take his qua both scenaries
demanded manslavahter or a lesser offense. .

Ta return, counsel refused to interview al\ witnesses (
asserted to the court that he and appellant had a conflict,
ond Stood vp during Voir dire and told all yurors thet appellant

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does not deny murder \# charge ~ appellant quickly objected.

Appellant was given a \ife Sentence 4ec manslaughter or
inveluatary manslaughter. No lesser offenses were placed in
appellant's ry instructions,

A pellant does not wish te feceive a Atw teial or te hold
his al counsel liable. Appellant only prays ,and prays
incessantly } that he be offered a plea deal he a redyeed
Sentence Appellant las been incarcerated foe twenty (20) years.

Importance of Issues

This cout of appeals Should hear this case because:
@ The Magistrate Stated appellant's (¥4 issue below) is an
Wimmense” and prominent” claim: a
@ Certain issues have never een addressed in this cirevit
nor the U.S. Supreme Court; .
@ Certain issves need to be clarified by the U.S. Supteme
Court because all circusts gave mixed / different Standards:
@ Appellant was Sentence to life in prison Lor manslaughter
ot involuntary manslaughter,

Issues intended for Appeal

4) Does a criminal defence lawyer Cender constitutionally
ineffective assistance of counsel when he announces to all
forty - three (43) ‘rors thet his client does not deny a —
murder and assault charge ~ against the client's consent
Forcing the client to yell “ objection” in open
Court.

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%) Did the court apply the Wrong law to determine
conflict counsels

cpecifically (1) = Once a criminal defence lawyer notices |
a trial court thet a conflict exist with his client wheat must
a trial court do to ensure that o defendant fully understands
that he is Waiving conflict counsels

And (a = Tf, during teil, Several mayor required Punctions

of defense counsel are refused and abandoned due to said conflict

does a trial court have 4 continuing obligation to further
inquire into Said conflict ~ and take action if new developements
Suggest the conflict has caused a Complete breakdewn.

3) Does a Criminal defense lawyer tender constitvtionally
ineffective assistance of counsel when he fails to object with
preservation the teial court's error in denying the jury to.
qvestion his client ( ducing testimony) a5 the trial court
permitted the jury to question all the Commonwealth's witnesses.

4) Did the Magistrate, and District Court, abuse its
disctetion boy refusing to acknowledge / address Kopellant's

XTC (a) (refusal to inter view/ subpoena detective) claim and
cefusing to acknowledge / address Aopellant's olojections to such.

§) Did the court apply the wrong law to determine.
bo pro Se defendant las a constitutional right be attend

bench conferences, considering thet hybrid counsel asserted a conflict
with client, P4 3
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6) Did the district apply the wrong law to determine
if the terial court was in ercor ly allowing Appellant
unfelated Robbery conviction and escape Charges to be
placed in front of the jury.

7) Does a criminal defense attorney render
consti tutionally ineffective assistance of counsel when he
Sails to file critical preteial motions Suppress” and Dismiss" *).

g) Does criminal defence attorney rendet
constitutionally ineffective assiStance of counsel when

he refuses to interview and subpoena alll witnesses for
the defense-

4) Did the district Court apply the wrong law to

determine pergvey issues when a detective admits, during

testimony at trial, thet he was dishonest tea grand yery
Lo obtain various indictments against Appellant.

Resoecttully Suomitted
a

Glean Oder, pte Se
KY. State featfentiney

N66 Water Strest

Eddyville, KY.4 2038

August %,2023

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